Case 5:23-mc-00001-LGW-BWC   Document 82-2   Filed 05/09/24   Page 1 of 2




               EXHIBIT 2
           Emails dated April 15, 2021
           Case 5:23-mc-00001-LGW-BWC                  Document 82-2         Filed 05/09/24       Page 2 of 2


Vickers, Tracie

From:                             Tabitha Paulk <cjstowing@windstream.net>
Sent:                             Thursday, April 15, 20211:43 PM
To:                               Vickers, Tracie
Subject:                          Re: Open Records Responsefor camera footage


Thanks I'll come by tomorrow with a check.

Sent from my iPhone



       On Apr 15, 2021, at 11:46 AM, Vickers, Tracie <Tracie.Vickers@coffeecounty-ga.gov> wrote:


       Good Morning Tabitha, I have just received the receipt from Charles for the new drive that he had to
       purchase to download the camera footage. Due to the volume of the file, the data would not load on
       the previous drive that Charles downloaded and therefore we had to get this backup drive that could
       handle more data. Wesley is waiving the administrative fees for Charles' time that it took him to
       download the content, due to you having to wait longer than usual to receive your response. The only
       charge will be for the portable storage drive for which I have attached the receipt for. Charles
       purchased (2) drives therefore your fee will be one half of the total on the receipt. Your fee is
       $59.39. The drive with the camera footage is available to pick up at the Commissioners Office. Again,
       we apologize for the delay. If you have any further questions, please contact me at 912-393-7108.

       Tracie Vickers
       County Clerk/ Open Records Officer


       Tracie Vickers
       County Clerk
       Coffee County Commissioners
       101 South Peterson Avenue
       Douglas, GIi. 31533
       912-393-7108

       CONFIDENTIALITYNOTICE:The contents of this email message and any attachments are intended solely
       for the addressee(s) and may contain confidential and/or privileged information and may be legally
       protected from disclosure. If you are not the intended recipient of this message or their agent, or if this
       message has been addressed to you in error, please immediately alert the sender by reply email and
       then delete this message and any attachments. If you are not the intended recipient, you are hereby
       notified that any use, dissemination, copying, or storage of this message or its attachments is strictly
       prohibited.


       <Best Buy Reciept for portable drive for Elections cameras.pdf>




                                                            1
